Case 8:20-cv-00394-WFJ-SPF Document 38 Filed 03/06/20 Page 1 of 6 PageID 1254



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

v.

KINETIC INVESTMENT GROUP, LLC and
      MICHAEL SCOTT WILLIAMS,                                  CASE NO.: 8:20-cv-394


         Defendants, and

KINETIC FUNDS I, LLC,
KCL SERVICES, LLC d/b/a LENDACY,
SCIPIO, LLC, LF 42, LLC, EL MORRO
FINANCIAL GROUP, LLC, and KIH, INC.,
f/k/a KINETIC INTERNATIONAL, LLC,

         Relief Defendants.
                                                      /

                 RECEIVER'S MOTION FOR AUTHORIZATION TO EMPLOY
                INFORMATION TECHNOLOGY AND SUPPORT PERSONNEL

         Mark A. Kornfeld, Esq., as Receiver (the “Receiver”) appointed over Defendant

Kinetic Investment Group, LLC and Relief Defendants Kinetic Funds, LLC, KCL

Services, LLC d/b/a Lendacy, Scipio, LLC, LF 42, LLC, and KIH Inc., f/k/a Kinetic

International, LLC (collectively, the “Receivership Entities”), pursuant to the Court’s

March 6, 2020, Order Granting Plaintiff Securities and Exchange Commission’s

Emergency Motion for Appointment of Receiver (the “Order Appointing Receiver”)

(Doc. 34), hereby files his Motion for Authorization to Employ Information Technology

and Support Personnel nunc pro tunc to March 6, 2020, and states as follows:

         1.       This action commenced on February 20, 2020, with the filing of the Securities

and Exchange Commission’s (“SEC”) Complaint against Defendants and Relief




QB\62072622.1
Case 8:20-cv-00394-WFJ-SPF Document 38 Filed 03/06/20 Page 2 of 6 PageID 1255



Defendants, the SEC’s Emergency Motion and Memorandum of Law for Asset Freeze and

Other Relief (Doc. 2), and the SEC’s Emergency Motion and Memorandum of Law for

Appointment of Receiver (Doc. 3).

       2.       Following a hearing on March 6, 2020, this Court entered the Order Appointing

Receiver appointing Mark A. Kornfeld, Esq. as Receiver of all assets of the Receivership

Entities. Pursuant to the Order Appointing Receiver, the Receiver is authorized to, among other

things, “engage and employ persons in his discretion to assist him in carrying out his duties and

responsibilities hereunder, including, but not limited to, forensic experts,” and to also take such

action as necessary and appropriate for the preservation of Receivership Property or to prevent

the dissipation or concealment of Receivership Property. See Order Appointing Receiver at ¶¶

7.F,G. and 61. This includes assisting the Receiver with taking possession of personal and real

property of the Receivership Defendants, including the authorization to “change door locks to

the premises described above.” Id. ⁋ 16.

       3.       Prior to engaging any such professionals, the Receiver must first obtain an Order

of this Court authorizing such engagement. See Order Appointing Receiver at ¶ 52. Any

professionals that the Receiver engages with this Court’s approval are “entitled to reasonable

compensation and expense reimbursement from the Receivership Estates as described in the

‘Billing Instructions for Receivers in Civil Actions Commenced by the U.S. Securities and

Exchange Commission’... agreed to by the Receiver.”

       4.       According to evidence presented by the SEC and through the Receiver’s

research, Receivership Defendants appear to have offices and/or assets located in Sarasota,

Florida and San Juan, Puerto Rico.

       5.       Accordingly, pursuant to the Order Appointing Receiver, the Receiver seeks this

Court’s approval to engage (i) professionals with the firm E-Hounds (“E-Hounds”) based in




                                                 2
Case 8:20-cv-00394-WFJ-SPF Document 38 Filed 03/06/20 Page 3 of 6 PageID 1256



Tampa, Florida and SupportPR LLC (“SupportPR”) based in San Juan, Puerto Rico to assist

with securing, imaging, and storing electronic information (collectively, the “IT Firms”); (ii)

professionals with Darrell’s Locksmith in Sarasota, Florida and Abracadabra Attention in San

Juan, Puerto Rico to assist with changing the door locks to the premises described in the Order

Appointing Receiver (collectively, the “Locksmiths”); and (iii) professionals with International

Intelligence Group, LLC in San Juan, Puerto Rico to provide investigative and asset management

services to the Receiver with respect to Receivership Property located in San Juan, Puerto Rico

(the “Investigative Personnel”).

       3.      The IT Firms. The Receiver seeks to retain the IT Firms to assist with imaging

any electronic devices or hardware belonging to the Receivership Entities. The Receiver

anticipates that E-Hounds shall serve as the primary IT Firm managing and facilitating access to

data imaged from electronic devices and hardware belonging to the Receivership Entities. Adam

Sharp, a principal of E-Hounds, has extensive experience in this field and also with assisting

court-appointed receivers including in matters brought by the SEC and a copy of his CV is

attached as Exhibit A. The firm will not request an up-front retainer and has provided preferred

hourly rates ranging from $195 to $250, with certain additional tasks such as sworn testimony

or expert consulting carrying a higher rate as set forth in the proposal attached as Exhibit B. The

Receiver anticipates primarily using E-Hounds as a clearinghouse for the identification and

collection of data, and E-Hounds will offer a review platform carrying a monthly charge of either

$495 (for data less than 100 GB) or $995 (unlimited data) with no additional servicing or storage

fees for such data and the inclusion of two reviewer logins.

       4.      The Receiver similarly anticipates using SupportPR LLC to provide on-the-

ground data collection and imaging for electronic devices and hardware belonging to




                                                 3
Case 8:20-cv-00394-WFJ-SPF Document 38 Filed 03/06/20 Page 4 of 6 PageID 1257



Receivership Entities in San Juan, Puerto Rico. SupportPR LLC has agreed to provide their

services at an hourly rate ranging from $150 to $175 and will not charge any separate storage

fees. The Receiver anticipates having E-Hounds work with SupportPR to efficiently facilitate

the capture, custody, and transmission of data imaged from electronic devices and hardware

belonging to Receivership Entities in San Juan, Puerto Rico. In addition to having a lower rate

than E-Hounds, utilizing the services of SupportPR will also avoid having E-Hounds incur

additional travel costs.

       5.      The Locksmiths. The Receiver has obtained quotes from Darrell’s Locksmith in

Sarasota, Florida and Abracadabra Attention in San Juan, Puerto Rico to assist with changing

the locks at all premises covered by the Order Appointing Receiver. Darrell’s Locksmith has

advised that it will charge $40 per service call plus $20 per lock. Abracadabra Attention has

advised it will charge $55 per lock as well as $25 in parts.

       6.      The Investigative Personnel.          The Receiver anticipates that, given his

understanding of significant assets and potentially multiple offices in San Juan, Puerto Rico, it

may be cost-effective to retain non-legal professionals to assist the Receiver with executing his

duties as they apply to those assets and office(s) in San Juan, Puerto Rico, and that doing so at

the rates charged by those non-legal professionals may be advantageous and more economical

than a legal or forensic professional attending to those same tasks. International Intelligence

Group, LLC, whose principal Hector Gonzalez is a retired Supervisory Special Agent with the

FBI in San Juan for over twenty years, has agreed to provide services at an hourly rate ranging

from $85 to $125. The Receiver will only seek to use Mr. Gonzalez’s services where necessary

and where doing so would benefit, rather than duplicate, any efforts to fulfill his duties under the

Order Appointing Receiver.




                                                 4
Case 8:20-cv-00394-WFJ-SPF Document 38 Filed 03/06/20 Page 5 of 6 PageID 1258



       7.     The Receiver will take all steps to ensure that there is no duplication of efforts

or expenses between or among any of the professionals he engages with the approval of

this Court.

       WHEREFORE, the Receiver respectfully requests that this Court enter the

proposed Order attached as Exhibit C, authorizing the Receiver to employ (i)

professionals with the firm E-Hounds based in Tampa, Florida and SupportPR LLC based in San

Juan, Puerto Rico to assist with securing, imaging, and storing electronic information; (ii)

professionals with Darrell’s Locksmith in Sarasota, Florida and Abracadabra Attention in San

Juan, Puerto Rico to assist with changing the door locks to the premises described in the Order

Appointing Receiver; and (iii) professionals with International Intelligence Group, LLC in San

Juan, Puerto Rico to provide investigative and asset management services to the Receiver with

respect to Receivership Property located in San Juan, Puerto Rico; and (iv) for such other and

further relief as the Court deems just and proper.

       Dated: March 6, 2020.


                                                   QUARLES & BRADY LLP

                                                   /s/ Mark A. Kornfeld
                                                   Mark A. Kornfeld, Esq., as Receiver
                                                   Florida Bar No. 1019233
                                                   101 E. Kennedy Blvd., Ste. 3400
                                                   Tampa, FL 33602
                                                    Phone: (813) 387-0300
                                                   Facsimile: (813) 387-1800
                                                   mark.kornfeld@quarles.com
                                                   karen.wollitz@quarles.com
                                                   docketfl@quarles.com




                                               5
Case 8:20-cv-00394-WFJ-SPF Document 38 Filed 03/06/20 Page 6 of 6 PageID 1259




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 6th day of March, 2020, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send a Notice of

Electronic Filing to the following counsel of record:

 Christine Nestor, Esq.                             Gregory W. Kehoe, Esq.
 Stephanie N. Moot, Esq.                            Joseph H. Picone, Esq.
 John T. Houchin, Esq.                              Danielle S. Kemp, Esq.
 Barbara Veniegra, Esq.                             Greenberg Traurig, P.A.
 Securities and Exchange Commission                 101 East Kennedy Blvd., Suite 1900
 801 Brickell Avenue, Suite 1950                    Tampa, FL 33602
 Miami, FL 33131                                    keoeg@gtlaw.com
 nestorc@sec.gov                                    piconej@gtlaw.com
 moots@sec.gov                                      kempd@gtlaw.com
 houchinj@sec.gov                                   Counsel for Defendants and Relief
 viniegrab@sec.gov                                  Defendants
 Counsel for Plaintiff
                                                    Steven M. Malina, Esq.
                                                    Greenberg Traurig, P.A.
                                                    77 West Wacker Drive, Suite 3100
                                                    Chicago, IL 60601
                                                    malinas@gtlaw.com
                                                    Counsel for Defendants and Relief Defendants


                                                        /s/ Mark A. Kornfeld
                                                        Receiver




                                                6
